Case 3:19-cv-01848-JBA Document 1-1 Filed 11/19/19 Page 1 of 10

EXHIBIT A
Case 3:19-cv-01848-JBA Document 1-1 Filed 11/19/19 Page 2 of 10

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— ~ GIVIL STATE OF CONNECTICUT
C.GS. 8§ 51-348, 51-347, 51-349, 51-350, 52-45a, SUPERIOR COURT

§2-48, 52-250, P.B. §§ 3-1 through 3-21, 6-1, 10-13 jud.ct.gov

See other elde for Instructions

"X” if amount, legal interest or property in demand, not including interest and

im) costs is less than $2,500.

] * comes nan intarast or proparty in demand, not including interast and
costs is $2,500 or more.

0 "X" if claiming other relief in addition to or in lieu of money or damages.

TO: Any proper officer, BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and legal service of
this Summons and attached Complaint.

 

 

 

 

 

 

 

 

 

 

 

 

“Address of court dork where wiiland olher papere shall bo filed (Number, Sireet, town and zip coda) | Telephone number of clerk Roturn Dato (Musi be o Tuesday)

(C.G.S. §§ 51-348, 51-350) (with area code) i

1061 Main Street, Bridgeport 06604 (203 ) 579-6527 november 123g te
x] Judicial District Osa Al (Town in which wit is retumablo) (C.G.S. § 51-346, 51-949) Casa type coda (Sea ist an page 2)

| Housing Session Number: Bridgeport Major: C Minor: 20
For the Plaintiff(s) please enter the appearance of:

Namie and address of attomey, law firm of plain q sell-represenied (Number, areal, town and zip code) Juris number (lo bo entered by afomey only)
Allan M. Cane, Esq., 325 Reef Road, Suite 212, Fairfield, Connecticut 06824 008205
Telephone number (wilh area code) Signature of Plaintift (ifs salfreprasanted)

(203) 255-2616
The attomey or faw firm appearing for tha plaintiff, or the plalntiff # Emaa address for delivery of papers under Section 10-19 (if egreed fo)

selt-represented, agrees to accept papers (service) ciectronicallyin [x] Yes [_] No | CaneOffice@optonline.net
this cass under Section 10-13 of the Connecticut Practice Book.

Number of Plaintiffs: One (1) Number of Defendants: Two (2) | [1] Form JO-CV-2 attached for additional parties

 

 

 

 

 

 

 

 

 

 

 

 

 

Partlos Name (Last, First, Middle Initial) and Address of Each party (Number; Street; P.O. Box; Town; Stato; Zip; Country, if not USA)
First Name: Collins, David W. P01
Plaintiff Address: 49 Earle Street, Milford, CT 06460
Additional Name: P02
Plaintitf Address:
oo —_—_—.
First Name? Aetna Life Insurance Companypf P.O. Bax 14549, Lexington, KY 40512-4549, having an Agent for Service D-t
Dofendant pron CT I, Burnside Avenue, East Hartford, CT 06108-3408
Additional | Nama: Prudential Insurance Company of America of P.O. Box 3676, Philadelphia, PA 19176 c/o Prudential Insurance D-02
Defendant | Address: Agency, LLC., having an Agent for Service C T Corporation System of 67 Bumside Ave., East Hartford, CT
Additional Name: D-03
Defendant | Address:
Additional =| Nama: D-04
Defendant | Address:
Notice to Each Defendant

4. YOU ARE SEING SUED. This paper is a Summons In a lawsuit. The complaint attached to these papers states the claims that each plaintiff is making
against you In this lawsuit.

2, To be notified of further proceedings, you or your attamey must file a form called an “Appearance” wilh the clerk of the above-named Court al the above
Court address on or before the secand day after the above Retum Date, The Retum Date !s not a hearing date. You do not have to come to court on the
Retum Date unless you receive a separate notice telling you to come to court.

3. Ifyou or your attomey do not file a written “Appearance” form on time, a judgment may be entered against you by defaull. The "Appearance" form may be
obtained at the Court address above or at www,jud.ct.gov under “Court Forms.”

4. Ifyou believe that you have Insurance that may cover the claim thal is being made against you in this lawsuil, you should immediately contact your
inguranca representative. Other action you may have to taka Is described In the Connacticut Practica Book which may be found In a superior court law
library or on-line al_ www jud-cl gov" under “Court Rules."

6. Ifyou hava-quedilons about the Surgmons andy: omplaint, you should lalk to an attomey quickly. The Clerk of Court Is not allowed to give advice on

legal q ons,

fora

 
 

       
   

 

x mm ner
upenor Court

Name of Person Signing al Left Dale signed
istant Clerk Allan M. Cane, Esq. { 0)

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ed byA Clerk:

so that the Piaintifi(s) will not be denied access to the courts.

Plalntiff(s) to see that service Is made In the manner provided by law.

‘Pennitiad to give any legal nnection with any lawsuil.

d. The Clerk signing this Summons at the request of the Pla Is not responsible In any way for any errors or omissions
in the Summons, any allegations contained in the Compiaint, or of the Summons or Complaint.

   
 
 

 

 

| cartify | have read and | Sioned (Saif-Represanted Plaint) Date
understand the above:

 

 

 

 

 

(Page 1 of 2)
Case 3:19-cv-01848-JBA Document 1-1 Filed 11/19/19 Page 3 of 10

RETURN DATE: 11/12/2019 SUPERIOR COURT
COLLINS, DAVID W. J.D. OF FAIRFIELD
v. = AT BRIDGEPORT

AETNA LIFE INSURANCE COMPANY and
PRUDENTIAL INSURANCE COMPANY

OF AMERICA : OCTOBER 14, 2019
COMPLAINT
1. That the Defendant, Aetna Life Insurance Company, has been, at all times

hereinafter mentioned, a corporation duly licensed to transact insurance business in the
State of Connecticut and to issue the insurance policy hereinafter referred to.

2. That the Defendant, Prudential Insurance Company of America, has been, at all
times hereinafter mentioned, a corporation duly licensed to transact insurance business
in the State of Connecticut and to issue the Insurance policy hereinafter referred to.

3. That on or about January 31®, 2011, in consideration of the premium specified in
the policy, Defendant Prudential Insurance Company of America issued a policy
insuring the life of Joseph A. Santone in the amount of ninety-one thousand eight
hundred eighty-four and 00/100 ($91,884.00) dollars to be paid to the beneficiary
named therein at the time of the insured's death. See copy of letter from Defendant
Prudential Insurance Company of America to Joseph A. Santone, the insured, dated
January 31%, 2011 attached hereto and made a part hereof and called “Plaintiff's
Exhibit A.”

4, That the insured passed away on October 4", 2018 which death was under

circumstances as to come within the terms of the policy and that the policy was in full
Case 3:19-cv-01848-JBA Document 1-1 Filed 11/19/19 Page 4 of 10

force and effect at the time of his death. See copy of Certificate of Death attached
hereto and made a part hereof and called “Plaintiffs Exhibit B.”

5. That at the time of the insured’s-death, the Plaintiff, David W. Collins, was the .
beneficiary named in the policy and that the employer of the insured, XPO Logistics,
Inc., indicated to the insured-employee, Joseph A. Santone, on June 26", 2017, that
Defendant Prudential Insurance Company of America was to transfer the beneficiary
information to Defendant Aetna Life Insurance Company and that there was nothing
remaining for the insured-employee to do to ensure that the Plaintiff was the named
beneficiary. See copy of letter from XPO Logistics, Inc. to insured-employee, Joseph A.
Santone, dated June 26", 2017 attached hereto and made a part hereof and called
“Plaintiff's Exhibit C.” .

6. That in truth and in fact, either Defendant Prudential Insurance Company of
America failed to transfer or change the beneficiary to the Plaintiff or Defendant Aetna °
Life Insurance Company failed to transfer or change the beneficiary to the Plaintiff or did
not indicate the Plaintiff to be the beneficiary. |

7. That consequently, since Defendant Aetna Life Insurance Company claimed that
there was no beneficiary named, it threatened to escheat the life insurance policy
benefit to the State of Connecticut. See copy of letter from Defendant Aetna Life
Insurance Company to Plaintiff David W. Collins dated April 2", 2019 attached hereto
and made a part hereof and called “Plaintiff's Exhibit D.”

8. That as a result of said letter, the Plaintiff opened up the Estate of Joseph A.
Santone so that at least the proceeds of the life insurance policy would be paid to the

Estate.
Case 3:19-cv-01848-JBA Document 1-1 Filed 11/19/19 Page 5 of 10

9. — That due proof of the insured-employee’s death has been duly submitted to both
Defendants in accordance with the terms of the life insurance policy.
10. That the proceeds of the insured-employee’s life insurance policy have not been
paid to the Plaintiff.
WHEREFORE, the Plaintiff claims:
1) Monetary damages; and °
t 2) Such other and further relief as to this Court may deem just, proper and
equitable in the premises.
Respectfully submitted,

THE PLAINTIFF
DAVID 2? COLLINS

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Ges?

All n’M. Cane, ES
/ soi #008205” t

325 Reef Road, Suite 212
Fairfield, CT 06824

Telephone: 203.255.2616
Facsimile: 203.255.6343

E-Mail: CaneOffice@optonline.net

 
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May 31 19,11:17a Fidelity Real Estate 000-000-0000 p.3
PLAINTIFF'S EXHIBIT A

The Prudential loscrance Company of America

@ Prudential POG SSB

Philadelphia, PA 19173

(877) 214-8584
JOSEPH A SANTONE , Group Coniruct Holder: Con-way Inc.
110 LINES PLACE Group Contract Number: 46581
STRATFORD, CT 06615 Member 1D: 04465076

January 31, 2013

Dear Joseph A Santone:

This letter serves to confirm that we have received your recent beneficiary designation(s).

Please be advised that your beneficiary(s) has been recorded as follows:

COVERAGE TYPE, = NAME PERCENTAGE.
All Primary David Collins 100.00%

We appreciate the opportunity to serve you. If you have any questions or would like more information, please
contact our Customer Service Office at (877) 214-6584, We are available Monday through Friday between 8:00
a.m. to 8:00 p.m. EST, If you are using a telecommunications device for the hearing impaired (TDD), please call
(800) 496-1214, Monday through Friday between 8:00 a.m. to 8:00 p.m. EST. One of our Customer Service
Professionals will be glad to help you.

Thank you for choosing us for your insurance needs,
Sincerely, , ‘
Your Customer Service Professional

Record Keeping Services
The Prudential Insurance Company of America . :

 
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Oct 24 18, 12:40p Fidelity Real Estate

PLAINTIFF'S EXHIBIT B

CERTIFICATE OF DEATH
OFFICE OF THE CHIEF MEDICAL EXAMINER

VS-AME 4/08
STATE OF CONNECTICUT
DErAKeee OF PUBLIC HEALTH

October 19, 1953

110, iimes Place 06615

Joanne Stewart

Fairfield
cT

Suvi, CY Oy ig 1S
18-17142 : ae .

000-000-0000 p.6

Bridgeport, Connecticut
Stratford *

N/A

CT 06712

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Ovracen Ofer

Trucking industry

 

I certify this is a true copy of the certificate received for record

Attest: re bruninj

Date: OFT 0 9 2018 "s

Asst Rgitrar, Town of Stratford, CT

 
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May 30 19; 04:04p Fidotity Real Estate 000-000-0000 p.1

PLAINTIFF'S EXHIBIT C

XPOLogistics

June 26, 2017
Dear Fellow XPO Employee, -
RE: New Life insurance Provider — Effective July 4

Effactive July 1, the basic and optional supplemental (if applicable) life coverage you are enrolled in
through Prudential will transfer to Aetna, aligning all XPO employees untformly with a single cartier. |
Benefit Harbor will be the third-party administrator for Aetna, Details on how to contact them and access
your account Information Is detailed below.

This is good news as there are two new benefits included es part of your-Aetna coverage — Aetna Travel
Assistance Program and Everest Funeral Planning and Concierge Service. More.informatisn coming. .,

Prudential will transfer the beneficiary information they have on file to Actna, so there is nothing thal you
'~ are required to do. However, there are two things that you may want to do.
1. Review your July paycheck (received 7/14 - 7/20/17) and compare it fo your last June check to
make sure the plan and level of coverage transferred correctly. You should continue to see a
deduction for each of the plans you are enrolled in. Your rates may be a few cents tower or higher
depending on your age bracket. However, the rates for chid life are slightly higher than before.

2. Log into the Aetna’s Benefit Harbor website beginning 7/14/17 and ensure your coverage and

beneficiary is correct
Benefit Harbor:
You may contact them at (877) 900-7094 or online at www. membarbenefitiogin.com/xna,

The first time you tog into the site, please follow the instructions below:
e UserID: Aetna + Social Security Number + 691. Example: Aeina123456789697

e Password: The first time you log in, it is the first initial of your first name, last nama and four-digit
birth year. Exampie: John Smith, 1960 = jsmith1960

When you contact Benefit Harbor, you can:

e Review coverage
Increase/add coverage with Evidence of insurability (EOI)
Review or change your beneficiary
File a claim . ‘
Request conversion and portability ififormation If you leave'the company. This must be completed ~~
within 31 days of leaving the company.

Please contact the XPO Benefits Office at (800) 363-2434, option 7 if you have any questions.

 

 

 

 

Sincerely,

Sara Hart

Sara C, Hart

Senlor Director, Benefits

Tha Chm right to rev Getrin ibd tha oizns of any had hore, 0¢ thore & ooy citerepancy bate een tho ed ined and the offical

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plog dorinpiled, Hotedihylosd rg ony prowisheey in thls beech Mor b atl ariplayment, nfeua written qpeemert sates hee whe,

XPO Benefits Office, FO Box 3456, Portland OR 97208
Phone: 800-363-2434, option 7, FAX: 503-450-4100

 
Case 3:19-cv-01848-JBA Document 1-1 Filed 11/19/19 Page 9 of 10

APT 1019, 12:20p PIGSILy Ret CSL vuyevuuuuY pe

PLAINTIFF'S EXHIBIT D

Aetna Life insurance Service Center

P.O. Box 14549
® Lexington, KY 40512-4549
Telephone Number: 1-800-523-5065
; Fax Number: 1-800-238-6239
; April 2, 2019

David Collins

2357 Main Street

Stratford, CT 06615

RE: Employee: Joseph Santone :
~Plan Sponsor. XPO Logistics--— ...~... ; i 2 TA mee
Control Number: 0285600

Dear Mr. Collins:

This Jetter Is to inform you that since we have not received 2 response from you after
many phone calls and correspondence with regards to the life Insurance claim which was
recelved on October 19, 2018, we have no other option but to escheat the life Insurance
benefit to the state. ‘

We would fike ta distribute the benefits of this palicy. However, since we have not
recelved a response to our requests regarding loseph Santone’s surviving next of kin
at the time of his death, we will be escheating the life insurance benefit to the state. .

If we do not receive the requested Information (a completed sole survivor affidavit)
within 30 days of the date of this letter, the life insurance benefit will be sent to our
Unclalmed Property Department and be escheated to the state according to state laws.

tn order to avoid delays when responding to this letter, please Include the name and Sacial Security
Number for the insured or deceased In any correspondence. Thank you for your assistance.

tf you have any questions regarding your claim, please contact our customer care center at 1-800-523-
5065.

*Illinols Residents-Part 919 of the Rules of the Iltincls Department of insurance requires that our
company advise you that, If you wish to take this matter.up with the Illinois Department of insurance, it
maintalns a Consumer Division in Chicago at 122 S. Michigan Ave., 19™ Floor, Chicago, I!linois 60603 and
in Springfield at 320 West Washington Street, Springfield, Illinols 62767. (Eff. 7/2/2014)

Sincerely,

Siliten Bower

Jillian Bower, Life Care Advocate
Astna Life Insurance Company

Astana Is the byand name used for products and services provided by ona or more of the Aetna group of subsidiary companies, nduding Aetna
Ufe Insurance Company ond Its affiliates (Aetna).

©2018 Aetna inc.

 
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RETURN DATE: 11/12/2019

COLLINS, DAVID W.

Vv.

AETNA LIFE INSURANCE COMPANY and

PRUDENTIAL INSURANCE COMPANY
OF AMERICA

Filed 11/19/19 Page 10 of 10

SUPERIOR COURT
J.D. OF FAIRFIELD
AT BRIDGEPORT

OCTOBER 14, 2019

STATEMENT OF AMOUNT IN DEMAND

» . The Plaintiffs amount in demand, exclusive of interest and costs, is in excess of

FIFTEEN THOUSAND AND 00/100 ($15,000.00) DOLLARS.

Respectfully submitted,

THE PLAINTIFF -—-—____

     
 
 
    

Fairfield, CT 06824
Telephone: 203.255.2616
Facsimile: 203.255.6343

aneOffice@optonline.net
